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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF Oregon
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number:               3:02-cv-00339-AN
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 03/19/2002

Date of judgment or order you are appealing:                     04/04/2024

Docket entry number of judgment or order you are appealing:                               485
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Marion County, Oregon




Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?                     23-5516
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Jane E. Vetto                                       Date 04/05/2024
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Marion County, Oregon


Name(s) of counsel (if any):
Jane Vetto, County Counsel



Address: 555 Court St. N.E., P.O. Box 14500, Salem, OR 97309
Telephone number(s): (503) 588-5220
Email(s): jvetto@co.marion.or.us
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes         No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Patrick Allen
Dolores Matteucci

Name(s) of counsel (if any):
ELLEN F. ROSENBLUM
Attorney General
CARLA A. SCOTT #054725
Address: 100 SW Market Street, Portland, OR 97201
Telephone number(s): (971) 673-1880
Email(s): Carla.A.Scott@doj.state.or.us; Sheila.Potter@doj.state.or.us; Craig.M.Joh


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
Disability Rights Oregon

Name(s) of counsel (if any):
Emily Cooper OSB #182254; Thomas Stenson OSB #152894


Address: 511 SW 10th Avenue, Suite 200, Portland, OR 97205
Telephone number(s): (503) 243-2081
Email(s): ecooper@droregon.org; tstenson@droregon.org
Name(s) of party/parties:
Metropolitan Public Defender Services, Inc.; A.J. Madison

Name(s) of counsel (if any):
Jesse Merrithew OSB #074564


Address: 610 SW Alder Street, Suite 415, Portland, OR 97205
Telephone number(s): (971) 229-1241
Email(s): jesse@lmhlegal.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
